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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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ALANDO DRUMMONDS,

                          Plaintiff,
                                                                      MEMORANDUM AND ORDER
                 - against -                                           14-CV-1994 (RRM) (RML)

AURORA LOAN SERVICES, LLC et al.,

                           Defendants.
------------------------------------------------------------------X
ROSLYNN R. MAUSKOPF, United States District Judge.

        Pro se plaintiff Alando Drummonds has filed this action for, inter alia, “rescission of an

illegal and void Mortgage and Note to certain real estate.” Complaint, Doc. No. 1, ¶ 5. Before the

Court is the Report and Recommendation (“R&R”) of the Honorable Robert M. Levy

recommending that this action be dismissed for failure to prosecute. See Doc. No. 10. Judge Levy

reminded the parties that, pursuant to 28 U.S.C. § 636(b)(1), any objection to the R&R was due

within fourteen days of his R&R. To date, no party has filed any objection.

        Pursuant to 28 U.S.C. § 636(b), the Court has reviewed the R&R for clear error and, finding

none, concurs with the R&R in its entirety. See Covey v. Simonton, 481 F. Supp. 2d 224, 226

(E.D.N.Y. 2007).

        A district court has the inherent power to manage its own affairs “so as to achieve the

orderly and expeditious disposition of cases.” Lewis v. Rawson, 564 F.3d 569, 575 (2d Cir. 2009)

(quoting Link v. Wabash R.R. Co., 370 U.S. 626, 630–31 (1962)). Consistent with that inherent

authority, applicable law explicitly empowers a district court, in the exercise of its sound discretion,

to dismiss an action “[i]f the plaintiff fails to prosecute or to comply with these rules or a court

order[.]” Fed. R. Civ. P. 41(b); see Lewis, 564 F.3d at 575 (noting that the standard of review is

abuse of discretion). Because dismissal on such grounds is unquestionably a “harsh remedy” that

should be used only in “extreme situations,” Lewis, 564 F.3d at 576 (citations omitted).
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       A court considering such action should examine five factors. Specifically, a court should

consider whether:

       (1) the plaintiff’s failure to prosecute caused a delay of significant duration; (2)
       plaintiff was given notice that further delay would result in dismissal; (3) defendant
       was likely to be prejudiced by further delay; (4) the need to alleviate court calendar
       congestion was carefully balanced against plaintiff’s right to an opportunity for a day
       in court; and (5) the trial court adequately assessed the efficacy of lesser sanctions.

Id. (quoting United States ex rel. Drake v. Norden Sys., Inc., 375 F.3d 248, 254 (2d Cir. 2004)). No

one factor is dispositive. Id.

       Here, on balance, these factors fully support the Magistrate Judge’s recommendation to

dismiss this action for failure to prosecute. As noted in the R&R, Judge Levy scheduled an initial

conference for November 14, 2014, but at plaintiff’s request, adjourned the conference to January

22, 2015. Plaintiff failed to appear at that conference or to request another adjournment, and the

Court’s attempts to reach plaintiff by telephone were unsuccessful. Judge Levy then rescheduled

the conference for February 3, 2015 and warned plaintiff that his failure to appear could result in

sanctions, including a possible dismissal for failure to prosecute. Plaintiff failed to appear for the

rescheduled conference. The Court again attempted unsuccessfully to reach plaintiff by phone.

       The docket reflects that copies of Judge Levy’s scheduling orders were mailed to plaintiff at

the address provided for him on the docket. In addition, a copy of the R&R was sent to plaintiff by

Federal Express. A search of the Federal Express tracking number indicates that the package was

successfully delivered on January 30, 2015. See https://www.fedex.com/apps/fedextrack/?

action=track&trackingnumber=772761111190&cntry_code=ca_english (last visited June 30, 2015).

       Plaintiff has failed to appear or otherwise contact this Court since his November 2014

request to adjourn the initial conference. Plaintiff has not advised the Clerk of Court of any change

of address as he is required to do. He has shown no interest in pursuing this action, and has been on

notice that failure to appear could result in dismissal of this action. Magistrate Judge Levy made

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considerable efforts to contact plaintiff by telephone, and ensured that each and every court order

was sent to plaintiff at the address listed for him on the docket. And as indicated by the Federal

Express tracking, the R&R was delivered to that address.

        This action has been pending on the Court’s docket for well over a year and has not

progressed in any way, solely due to plaintiff’s conduct. Such unreasonable delay is presumptively

prejudicial to defendant. See, e.g., Shannon v. Gen. Elec. Co., 186 F.3d 186, 195 (2d Cir. 1999)

(citing Lyell Theatre Corp., 682 F.2d at 43). The Court has considered lesser sanctions. However,

“given the duration of plaintiff's dilatory conduct, and its persistence in the face of efforts by the

court and opposing counsel to move the case forward, there is no basis to conclude that sanctions

short of dismissal would remedy the situation.” Yan v. Kohler, 91-CV-1689 (LAP), 1994 U.S. Dist.

LEXIS 1626 at *11 (S.D.N.Y. 1994).

                                                CONCLUSION

        Accordingly, it is hereby ORDERED that the magistrate judge’s R&R is adopted in its

entirety, and the case be dismissed for lack of prosecution. The Clerk of the Court is directed to

send a copy of this Memorandum and Order by overnight mail to plaintiff pro se at the address

listed for him on the docket and note the mailing and the accompanying tracking number. The

Clerk is further directed to close this case.



                                                        SO ORDERED.


Dated: Brooklyn, New York                               Roslynn R. Mauskopf
       June 30, 2015                                    ____________________________________
                                                        ROSLYNN R. MAUSKOPF
                                                        United States District Judge




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